        Case
          Case:
             4:11-cv-04766-JSW
                17-16924, 03/05/2018,
                                 Document
                                      ID: 10786172,
                                            527 Filed
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                     UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                          MAR 5 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
MATTHEW EDWARDS; et al.,                         No.   17-16924

                Plaintiffs-Appellees,            D.C. Nos.   4:11-cv-04766-JSW
                                                             4:11-cv-04791-JSW
 v.                                                          4:11-cv-05253-JSW
                                                 Northern District of California,
CHRISTOPHER ANDREWS,                             Oakland

                Objector-Appellant,              ORDER

  v.

NATIONAL MILK PRODUCERS
FEDERATION, AKA Cooperatives
Working Together; et al.,

                Defendants-Appellees.

Before: CANBY, CALLAHAN, and WATFORD, Circuit Judges.

       Appellees’ motion to dismiss this appeal for lack of jurisdiction is granted.

See Fed. R. App. P. 24(a)(1)(5) (following district court’s denial of motion to

proceed on appeal in forma pauperis on appeal, appellant may file motion to

proceed in forma pauperis in court of appeals); see also Advisory Committee Note

to Rule 24 (Rule 24 establishes “a subsequent motion in the court of appeals, rather

than an appeal from the order of denial or from the certification or lack of good

faith, as the proper procedure” to challenge district court order denying leave to

proceed in forma pauperis on appeal).

MF/Pro Se
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       Appellant’s in forma pauperis status for appeal No. 17-16459 will be

addressed by separate order in that appeal.

       DISMISSED.




MF/Pro Se                                 2
